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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                           WESTERN DIVISION

UNITED STATES SECURITIES AND         )
EXCHANGE COMMISSION,                 )
                                     )
     Plaintiff,                      )
v.                                   )      No. 2:19-cv-02297-SHL-dkv
                                     )
LLOYD SCHUMAN and DANE JANES,        )
                                     )
     Defendants.                     )

                                 JUDGMENT


JUDGMENT BY COURT. This action having come before the Court on
Plaintiff’s Complaint, filed May 9, 2019, (ECF No. 1),

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Order Granting in Part and Denying in Part
Plaintiff’s Agreed Motion for the Entry of Judgment Against
Defendants Lloyd Schuman and Dane Janes, filed May 15, 2019,(ECF
No. 12), all claims in this matter are DISMISSED WITH PREJUDICE.
The Court shall retain jurisdiction over this matter to enforce
the terms of Plaintiff’s Consent Agreements with each of the
Defendants.

APPROVED:

s/ Sheryl H. Lipman
SHERYL H. LIPMAN
UNITED STATES DISTRICT JUDGE

May 15, 2019
Date
